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 6                                   UNITED STATES DISTRICT COURT
 7                                   EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                         No. 2:11-cr-449-KJM
10                      Plaintiff,
11           v.                                        ORDER
12   BRIAN JUSTIN PICKARD, et al.,
13                      Defendants.
14

15                  On November 2, 2014, the court received an e-mail from one Peter Newman,

16   seeking to file an amicus brief. (ECF No. 354.) In construing that request as a motion for leave

17   to file an amicus brief, the court gave the parties an opportunity to file a response to that motion

18   within 14 days. (ECF No. 355.) The Government filed an opposition on November 14, 2014.

19   (ECF No. 360). As explained below, the court DENIES Mr. Newman’s motion.

20   I.      DISCUSSION

21                  As another district court has explained,

22                  The privilege of being heard amicus rests solely within the
                    discretion of the court. . . . Generally, courts have exercised great
23                  liberality in permitting an amicus curiae to file a brief in a pending
                    case, and, with further permission of the court, to argue the case and
24                  introduce evidence. . . . There are no strict prerequisites that must
                    be established prior to qualifying for amicus status; an individual
25                  seeking to appear as amicus must merely make a showing that his
                    participation is useful to or otherwise desirable by the court.
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27   United States v. State of La., 751 F. Supp. 608, 620 (E.D. La. 1990), quoted in In re Roxford

28   Foods Litig., 790 F. Supp. 987, 997 (E.D. Cal. 1991). Yet, “[a]n amicus brief should normally be
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 1   allowed when a party is not represented competently or is not represented at all . . . or when the
 2   amicus has unique information or perspective that can help the court beyond the help that the
 3   lawyers for the parties are able to provide.” Ryan v. Commodity Futures Trading Comm’n, 125
 4   F.3d 1062, 1063 (7th Cir. 1997) (Posner, J.), quoted in Merritt v. McKenney, No. 13-01391, 2013
 5   WL 4552672, at *4 (N.D. Cal. Aug. 27, 2013).
 6                  Here, Mr. Newman filed a one-page document, seeking to bring to this court’s
 7   attention “an idea,” which he “find[s] missing from the public discussion and . . . the hearings
 8   . . .”: “It involves honesty, and honest discussion between adults and kids.” (ECF No. 354-1.)
 9   The essence of Mr. Newman’s proposed brief is that the classification of marijuana as a Schedule
10   I drug hinders the ability of adults, such as teachers, to educate children “about the realities of
11   drugs and drug use.” (Id.)
12                  While the court does not discount Mr. Newman’s proposition, the parties here are
13   represented by counsel and the defendants’ attorneys are fully capable of bringing the arguments
14   supporting their legal position to the court’s attention. The proposed amicus brief does not
15   provide the court with unique information or a unique perspective on the legal issues in this case.
16   The court, exercising its discretion, DENIES the motion.
17   II.      CONCLUSION
18                  For the foregoing reasons, the court DENIES the motion for leave to file an amicus
19   brief. (ECF No. 354.) The Clerk of the Court is directed to serve a courtesy copy of this order on
20   Mr. Newman.
21                  IT IS SO ORDERED.
22   DATED: November 19, 2014.
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25                                                     UNITED STATES DISTRICT JUDGE

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